THIS is a proceeding under the Workmen's Compensation Act.
On July 26, 1943, Steve Patrick McFall, a coal miner, sustained an accident in the course of his employment, *Page 192 
and as a proximate result thereof, died on January 8, 1946, more than two years after the date of the accident. The commission awarded benefits to the dependents of deceased; thereupon, the Moffat Coal Company, decedent's employer, and the Employers' Mutual Insurance Company, the insurer, brought this action in the district court to modify the award of the commission by striking therefrom the requirement that the dependents be paid certain monthly benefits beginning January 1st, 1946. The court sustained the award of the commission.
The sole question involved herein is whether or not the dependents are entitled to said benefits under the applicable statute. Section 342, chapter 97, `35 C.S.A., provides: "In case death proximately results from the injury within a period of two (2) years, the benefits shall be in the amounts and to the persons following:" Then follows basis of payment not material herein.
[1] The essential facts are not disputed. They are: that McFall was employed by Moffat Coal Company; that he sustained and accident in the course of his employment; that death proximately resulted from said accident; and that if the dependents are entitled to any benefits, the amount awarded was proper.
The above statute provides in simple and unambiguous language that in order that dependents be entitled to receive benefits, death must occur within a period of two years from the date of the injury.
[2] It is contended by dependents that the act should be construed and considered as whole and, if possible, every section thereof harmonized and given effect. This is familiar law and requires no citation of authority to support it, but the rule is not applicable here. They do not seek to have various sections of the act harmonized. They ask, in effect, that that part of the statute be deleted, and that the words "within a period of two (2) years" be entirely disregarded.
We cannot, under the guise of harmonizing various sections of the statute or by employment of rules of *Page 193 
construction, ignore the provisions of legislative enactments which are clear and unambiguous.
The judgment of the district court is reversed and the cause remanded with instructions to direct the Industrial Commission to amend its award in conformity herewith.
MR. CHIEF JUSTICE BURKE, MR. JUSTICE STONE and MR. JUSTICE JACKSON dissent.